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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                             18-CV-799 (JNE/DTS)
______________________________________________________________________________

Jordan Peacock,

                Plaintiff,

v.                                                           AMENDED COMPLAINT

Stewart Zlimen & Jungers, Attorneys, Ltd.,

            Defendant.
______________________________________________________________________________

     1. Plaintiff Jordan Peacock (“Consumer”) amends his Complaint by right under FRCP

        15(a)(1)(B).

     2. Consumer initiates this action based on the violation of the Fair Debt Collection Practices

        Act (FDCPA), 15 U.S.C. § 1692 et seq., by Stewart Zlimen & Jungers, Attorneys, Ltd.

        (“Debt Collector”). Debt Collector falsely represented the balance of a judgment when

        attempting to levy it from Consumer's bank account.

                                  PARTIES AND JURY TRIAL

     3. Consumer is a natural person residing in Dakota County and is a “consumer” as the term

        is defined in 15 U.S.C. § 1692a(3).

     4. Debt Collector is a Minnesota business corporation with a registered address of 2277

        Highway 36W, Suite 100, Roseville, MN 55113. Debt Collector’s principal business and

        purpose is the collection of debts, making it a “debt collector” as the term is defined in 15

        U.S.C. § 1692a(6).

     5. Consumer demands a trial by jury to the extent available under US Const. Amend. 7;

        FRCP 38.




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                                          FACTS

6. Debt Collector represents Wells Fargo Bank, N.A. in reference to an outstanding

   consumer debt that Consumer allegedly owes Wells Fargo.

7. On November 29, 2017, Wells Fargo (represented by Debt Collector) obtained a

   judgment against Consumer for said outstanding debt in the amount of $8,695.13. See

   Notice of Entry and Docketing of Judgment attached as EXHIBIT A.

8. This judgment debt began accruing interest daily as of the date of entry at a rate of four

   percent, per both the Notice of Entry and Docketing of Judgment, which ordered the

   accrual of standard judgment interest:

       “Costs and interest will accrue on any money judgment amounts from
       the date of entry until the judgment is satisfied in full.” See EXH. A.

   and Minn. Stat. § 549.09, which adds interest to all money judgments:

       “When a judgment or award is for the recovery of money . . . interest
       from the time of the verdict, award, or report until judgment is finally
       entered shall be computed by the court administrator . . . and added to
       the judgment or award.”

9. On January 30, 2018, Debt Collector sent a Garnishment Summons, a Non-Earnings

   Disclosure Form, and an Exemption form to both Consumer and U.S. Bank, N.A., from

   which Debt Collector was attempting to levy the judgment. See attached as EXHIBIT B.

10. With judgment interest accruing daily under both Minn. Stat. § 549.09 and the judgment

   itself, the judgment balance had increased to approximately $8,753.50 by January 30,

   2018.

11. Debt Collector’s January 30, 2018 Garnishment Summons, however, misrepresented the

   balance of the judgment as being $8,695.13.




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12. Had Consumer paid the stated amount, or had U.S. Bank done as instructed and turned

   over the requested judgment balance to Debt Collector, the judgment would not have

   been satisfied.

COUNT I: MISREPRESENTATION OF CHARACTER, AMOUNT, AND LEGAL
                      STATUS OF DEBT

13. Consumer incorporates all other allegations as if set forth herein in full.

14. The FDCPA prohibits collectors from misrepresenting a debt’s “character, amount, or

   legal status:”

          “A debt collector may not use any false, deceptive, or misleading
          representation or means in connection with the collection of any
          debt. Without limiting the general application of the foregoing, the
          following conduct is a violation of this section: . . . The false
          representation of . . . the character, amount, or legal status of any
          debt . . . .” 15 U.S.C. § 1692e(2)(A).

15. The FDCPA prohibits collectors from using false representations or deceptive means to

   collect a debt:

          “A debt collector may not use any false, deceptive, or misleading
          representation or means in connection with the collection of any
          debt. Without limiting the general application of the foregoing, the
          following conduct is a violation of this section: . . . The use of any
          false representation or deceptive means to collect or attempt to
          collect any debt or to obtain information concerning a consumer.” 15
          U.S.C. § 1692e(10).

16. With interest compounding on the judgment balance at 4%, and with 62 days having

   elapsed between entry of judgment on November 11, 2017 and service of the

   Garnishment Summons and attendant documents on January 30, 2018, the correct

   balance of the judgment on January 30, 2018 would have been $8,753.50.




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17. When it served a Garnishment Summons on Consumer stating the balance as $8,695.13,

   Debt Collector violated §§ 1692e(2)(A) and 1692e(10) by misrepresenting—both to

   Consumer and to U.S. Bank— the balance of the judgment Consumer owed.

18. Debt Collector thus misled Consumer and U.S. Bank as to the amount of payment

   required to satisfy the underlying judgment when attempting to collect it.

19. Debt Collector misled Consumer into believing the balance of the judgment he owed

   Wells Fargo was different than the actual outstanding balance.

20. This violation has caused Consumer to suffer emotional distress, including frustration,

   confusion, and helplessness.

21. Consumer has been forced to hire legal counsel to address Debt Collector’s failure to

   comply with the FDCPA.

22. The FDCPA provides the following remedies for its breach:

   “[A]ny debt collector who fails to comply with any provision of this title
   with respect to any person is liable to such person in an amount equal to
   the sum of — (1) any actual damage sustained by such person as a result
   of such failure; (2) . . . such additional damages as the court may allow,
   but not exceeding $1,000 . . . [and (3)] the costs of the action, together
   with a reasonable attorney's fee as determined by the court.” 15 U.S.C. §
   1692k(a).

23. Consumer is entitled to actual damages in an amount to be determined at trial, statutory

   damages of $1,000.00, the costs of this action, and reasonable attorney’s fees from Debt

   Collector in an amount to be determined by the court under 15 U.S.C. § 1692k.

               COUNT II: FAILURE TO STATE ACCURATE CLAIM
                        IN GARNISHMENT SUMMONS

24. Consumer incorporates all other allegations as if set forth herein in full.

25. Minn. Stat. § 571.72, subd. 2 lays out the following conditions a collector must meet to

   employ a Garnishment Summons to collect a judgment:




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   “To enforce a claim asserted in a civil action venued in a court of record, a
   garnishment summons may be issued by a creditor and served upon the
   garnishee in the same manner as other summons in that court of record . . .
   . The garnishment summons must state: (1) the full name of the debtor, the
   debtor’s last known mailing address, and the amount of the claim that
   remains unpaid . . . .”

26. Minn. Stat. § 571.712 defines the term ‘claim’ used here as follows:

   “‘Claim’ means the unpaid balance of the creditor’s judgment against the
   debtor or, in a prejudgment garnishment proceeding, the unpaid balance of
   the creditor’s claim against the debtor and all lawful interest and costs and
   disbursements paid or incurred in the civil action or in the garnishment
   proceedings.”

27. Per both the Notice of Entry and Docketing of Judgment and Minn. Stat. § 549.09, as

   well as the plain language of Minn. Stat. § 571.712 requiring "all lawful interest . . .

   incurred in the civil action" be listed on a Garnishment Summons, Wells Fargo’s

   judgment “claim” against Consumer was accruing interest daily, and stood at

   approximately $8,753.50 at the time of its Garnishment Summons.

28. By instead stating the balance of the judgment as $8,695.13 on its Garnishment

   Summons, Debt Collector stated an amount other than the “claim” as defined by Minn.

   Stat. § 571.712.

29. Debt Collector's failure to list the "claim" on its Garnishment Summons violated Minn.

   Stat. § 571.72, subd. 2.

          COUNT III: LEGALLY PROHIBITED COLLECTION ACTION

30. Consumer incorporates all other allegations as if set forth herein in full.

31. “The FDCPA prohibits, inter alia, the use of debt collection practices that violate state

   law . . . See 15 U.S.C. § 1692e(5) (prohibiting debt collectors from using ‘false,

   deceptive, or misleading representation or means in connection with the collection of any




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       debt,’ which specifically includes ‘[t]he threat to take any action that cannot legally be

       taken’).” Picht v. Hawks, 236 F.3d 446, 448 (8th Cir. 2001).”

   32. By serving a defective Garnishment Summons on Consumer and U.S. Bank which did

       not comply with the requirements of Minn. Stat. § 571.72, subd. 2, and thus threatening

       to levy funds from Consumer without the legal right to do so, Debt Collector also

       violated 15 U.S.C. § 1692e(5).

                                     RELIEF REQUESTED

Consumer requests an Order for the following relief:

   1. Judgment in favor of Jordan Peacock and against Stewart Zlimen & Jungers, Attorneys,

       Ltd. for actual damages in an amount to be determined at trial, $1,000 in statutory

       damages, the costs of this action, and a reasonable attorney’s fee under 15 U.S.C. §

       1692k.

   2. Interest accruing from commencement of this action at 4% for awards up to $50,000.00,

       or at 10% for awards over $50,000.00, under Minn. Stat. § 549.09.

   3. All other relief the Court deems just and equitable.



Date: April 5, 2018                           /s/ Bennett Hartz
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